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             EXHIBIT 4
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                                  EXHIBIT A

                       (\\lhitehouse General Affidavit)




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                     TN THE lJNITED STA.TES BANKRUPTCY COURT
                             FOR THE DISTRICT OFDELi\WARE

* * * * * * * ~ * * * *** ** * * * * * * *
                                              *
In re                                         *
                                              *      Chapter 11
W.R. GRACE & CO.~ et ai.,                     *      Case No. 01-01139 (JFK)
                                              *      Jointly i\dn1inistered
                  Debtor.                     *
                                              *
* * * ** * * * * * * * * * * * * * * * * * * * *
                GENERAL AFFIDAVIT OF DR. ALAN C. \VHITEHOUSE

STATE OF l\10NTANA)
                              :S8
County       of    Lincoln    )

        DR. ALAN C.. \VI-IITEHOITSE, being first duly sworn upon oath, deposes and

states as follows:

1.      Qualifications.

        1.        I an1 Dr. Alan C. Whitehouse. My address is 1507 East Eloika Road, Deer

Park~ WA 90066.


        2.        I aITI licensed in Vv1ashington and Montana. I currently practice chest

filcdicine at the Center for Asbestos Related Disease in Libby, Montana \vhere \ve have

about 1~500 active cases of asbestos disease from exposure to Libby tremolite asbestos.

        3.        My curriculunl vitae is attached as Exhibit 1.

        4.        In addition, I have been an invited speaker on the subject of Libby tretnoHte

asbestos disease at various locations across the country.

         1998            Libby, MT                   Presentation to local doctors at St.
                                                           JohnlsHospital

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       1/2/00         Bellingham, WA                America College of Occupational and
                                                           Environmental Medicine
      3/00            Cincinnati~OH                 Center for Disease Control, meeting
                                                           on trernolite asbestos disease
      5/10/00         Washington D.C.               NIOSH/CDC meeting on tremolite
                                                           asbestos disease
       10/00          Kalispell, MT                 Grand rounds at Kalispell Regional
                                                           Hospital
       11/15/01       Butte., !\1T                  ASSE Lecture re Libby asbestos
      2001            "vVashington IJ.C.            US Senate Hearing Committee
                                                           Panel~ Senator Patty Murray
      6/24/02         Missoula~ MT                  Conference on Asbestos Disease
                                                           2002 Nevv Directions and Needs
                                                           in Asbestos Research
       10/4/04        V-lenatchee, Vl A.            W~4 State Public Health Group
       11/19/04       Tacoma, WA                    ATSDR rneeting

       5.       Since 1980 I have evaluated or treated over 700 patients for asbestos

disease froln Libby tremoIite. Since about 2000, patient data has been tracked on a data

base. Since 1980 I have also evaluated or treated over 500 patients for chrysotile

asbestos disease,.. I anl in a position to compare asbestos disease from Libby tremolite to

asbestos disease from chrysotile asbestos. Chrysotile asbestos is the ordinary form of

asbestos used in building nlaterials in the United States, accounting for about 950/0 of the

total asbestos used in the lJnited States. Fraser and Pare's Diagnosis ofDiseases of the

Chest, 4 Ed. (1999)~ p.2420.
        th



       6.       I atTI Board Certified in intcrnallnedicine and puhnonarydisease. 1 treat

the entire range of pulmonary disease. In my practice in Spokane in the years 1994..2004,

the majority afmy tilne, probably about 90~'-a, \vasrelated to general chest disease,

including asthma, en1physen1a, lung cancer and hospital care. Abollt 5-100/0 OflUy time

\vasspent on ashestos related issues and other pneulnoconioses. Probably about 10% of


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Iny thl1e 'was related to industrial disease. Currently I spend a small amount of time on

legal matters, but for the most part, n1Y time is devoted to patient care.

       7.       In 30 years of practice 1 have probably testitled at trial 8-12 times, about

half for the plaintiff and half tor the defendant. I testifIed in three asbestos trials relating

to exposure frOUl the W.R. Grace Dline and mjll near Libby, and one trial on the sam.e

subject in Missoula, Montana. These trials related to asbestos disease fronl Libby

tren10Hte. In addition, my deposition has been taken on the subject of asbestos disease

probably 25-30 tiules. I have testified in three Libby asbestos cases before the Montana

\Vorkers Conlpensation Court..
            l




       8.       I have published a paper on asbestos disease in Libby, titled "Asbestos-

Related Pleural Disease Due. to 'frelTIolite Associated vvith Progressive Loss of Lung

Function: Serial Observations in 123 Miners, Family Members, and Residents of Libby,

Montana," Anl J Ind "Med 46:219-225 (2004), A copy of the paper is attached as Exhibit

2. 123 patients \vere foHovved for an average of 35 filonths. Lung function was nleasured

in terms of total lung capacity, forced vital capacity and diffusion capac.ity. The range of

loss \vas beh,¥een t\VO and four percent per year for each of these functions.

       9.       Over the last three decades. I have practiced occupational llledicine. I have

perfonned studies for co!npanies~ done screenings for conlpanies and done disability

exatns for conlpanies. In the 19805 T was involved in lnultiple screening programs for

asbestos disease. I have also done independent medical examinations for the State of

Washington, Department of Lab Of and Industry for decades.



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2.      The mechanism for asbestos disease.

        10.     Asbestos is a mineral fiber. There are two kinds, serpentine and amphibole.

Serpentine asbestos, or chrysotHe asbestos, is the kind used commercially in building

products. Serpentine asbestos is lTIOre curly, or more club-like, whereas alnphibole

asbestos is like tiny needles or spears. The Libby asbestos is an amphibole. It is

generally referred to as trenlolite, and variously referred to as winchite, richterite or

tretllolite-actinoHte., all of which are amphiboles. I \vin refer to it as trcluolite.

        II.      In relative tenus of their length to width (aspect ratio), tretnolitefibers are

long and sharp, like needles. SOIne fihers are nlicroscopic, as are the tiny air sacs

(alveoli) in the lungs. The fIbers \vhen breathed in lodge in the tiny air sacs,. and are too

sl11a11 to be expelled. \Vit}) each breath, they poke and scar the air sacs and the lung tissue

structure around the air sacs (the interstitia). ScmTing in the interstitia is interstitial

disease. \\Then the interstitia are significantly scarred, they can no long expand or

contract and breathing is restricted.

         12.     The asbestos fibers also tnigrate through the air sacs to the outside portion

of the lung, \vhere they scar and inflame the pleura (the lung lining) and cause pleural

disease. See Frazer and Pare, p.2809. This migration seenlS particularly pronounced

\-vith trelTIolite fibers.

         13.     The Honna1 pleura is actually thinner than a blown up banoon. It is a very

thin Ine111brane~ and it can expand like a balloon. Asbestos fiber scarring causes the

pleura to look lTIuch like the orange portion of an orange rind, and can be just as thick.



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When surgeons peel it off the pleura, they call it a rind. When the lung lining becomes

mQre like an orange rind, it can no longer expand freely and breathing is restricted. The

correlation beivleen increased pleural thickness and restrictive lung disease is variable in

tremolite asbestos disease. Signifi.cant restriction can occur with 1mm thickness or more.

Asbestos disease is generally a restrictive lung disease.

3.     Diagnosis of asbestos disease..

       14.    For the diagnosis of ashestos disease, I use American Thoracic Society

(2004), HDiagnosis and Initial Management ofNon-Malignant Diseases Related to

Asbestos," Am J Respir Cdt Care Med, Vol. 170: 691 ..715 (2004). Asbestos interstitial

disease is due to scarring in the lung structure around the alveoli (air sacs) from the

poking and inflammation froln asbestos fibers. Asbestos pleural disease is due to the

scarring and intlamation in the pleura (the lung lining) from asbestos fibers...t\sbestos

pleural disease and asbestos interstitial disease are essentially the same disease process.

       IS.    The diagnosis of asbestos disease generally requires at a minimum, a

history of exposure to asbestos and a 15 year latency period. ATS (2004) states the

diagnostic criteria as follows:

       Evidence of structural pathology consistent with asbestos-related disease as
       documented by imaging or histology.

       Evidence of causation by asbestos as documented by the occupational and
       envirOlunental history, markers of exposure (usually pleural plaques),
       recovery of asbestos bodies, or other .means.

       Exclusion of alten1ative plausible cause,s for the findings.

        16.   I have taken hundreds of histories of work exposure at the W.R.. Grace


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mine and mill near Libby, Montana. and am familiar with conditions in the various jobs

there. I have also taken hundreds of histories of exposure from family members of

workers and Libby community members. Pathways for asbestos disease from Libby

tremoHteasbestos exposure are discussed at Peipins, et al (2003) ItRadiographic

Abnonnalities and Exposure to Asbestos..Contaminated Vennicullte in the Community of

Libby, Montana, USA, II Environmental Health Perspectives, 111: 14, pp.1753-59.

       17.    Asbestos disease causes a restrictive defect. The amount of air breathed in

is restricted. The physical examination. includes detenninations of chest restriction~ the

presence ofrales (the crackling sound of scarred air sacs reopening), and an evaluation of

shortness of breath, While chestx~rays occasionally sho\v abnonnalities not seen on CT

scan, chest x-rays generally miss about one-third of parenchymal abnormalities of

asbestosis, and miss even higher percentage ofpleuralabnonn.alities, as compared to CT

scans. See Frazer and Pare, pp. 2440 and 2431) respectively. Subpleural interstitial

fibrosis is often not seen on chest x-ray, but is seen on CT scans, and may playa

significant role in the severity of the disease process. See Sch\varzandKing, Interstitial

Lung Disease, 4t.h Ed. 2003, p.422,

       18.    At our clinic, lung function tests are perforrned in accordance with ATS

criteria. We use Knudson norms for vital capacity (spirometry), lntennountain Thoracic

Society for lung volumes, and MiUer for diffusion capacity.

       19.    Of alI lung function tests, the three most inlportant in asbestos disease are




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forced vital capacity (EVC), total lung capacity (TLC) and diffusion capacity (DLCO).

Fishman's Pulnl0nary Q!.§.eases and Disorders, 3d Ed. (1998), p.8S3, states "The

characteristic pulmonary function changes of asbestosis are a restrictive impairment '\vith

a reduction in lung VOIUll1eS (especially PVC and total lung capacity) decreased diffusion

capacity, and arterial hypoxemia."

         20.   There are three components to pulmonary function tests. First is

spirometry, vlhich measures the amount of volume of the lung and the rapidity of

inhalation, \vhich gives an index of air flo"," and lung volumes. \Ve usually do this before

and after brochodilator. Ifthere is iluprovement \vith brochodUator, this suggests asthma.

There is often an asthn1atio effect vdth asbestos disease from exposure to Libby tremolite

asbestos.

         Second,\ve do lung voluilles in \¥hat is called a body hox, or plethysmograph,

where \\'e ll1easure very sluaH changes in air flo\-v, pressure and volUille, with a shutter

and a closed systel11. lIsing Boyle's law, one can calculate the volume of the lung.

         Third, we n1easure diffusion capacit)', by having the patient breathe a small

percentage of carbon n10noxide, using very tiny tracer amounts oflnethane,. \vhich is not

absorbed, and we measure \vhat COUles out of the lungs. \Ve 111easure tht:: n1ethane,

measure the carbon 1110noxide, and the differential uptake gives us the carbon tnonoxide

diffusion capacity. Diffusion capacity is the efficiency of the lungs in transferring

oxygen
  .. ~
       into the blood streanl.

4.       Snloking.



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       21.    SITIokingcauses enlphysen1a and chronic bronchitis.

       22.    Fishnlan) p. 684, states:

              The l\18 defines emphysema as air spac.e enlargement distal to the
              terminal bronchioles and destruction of the alveolarvvalL

       23.    Fislllnan, p. 683-684 states:

              The AIS defines chronic bronchitis as the persistence of cough and
              excessive D1UCUS secretions on Ul0St days over a three Jllonth period for at
              least nvo successive years.

       24.    Fishl11an~ p. 649, states:


              The ATS defInes llchronic obstructive pulmonary disease (C()PD) as
              a disease state characterized by the presence of airt1o\v obstruction
              due to chronic bronchitis or emphyscnla. H

       25.    lA.TS (1995), tlStandards for the Diagnosis and Care of Patients \vith

Chronic Obstnlctive Puln1.onary Disease.,H Atn J RespirCrit Care1'vfed, \,1'' 01. 152, p.79,

states: HOnlyabout 150,1& of cigarette smokers develop clinically significant COPD.!!

       26.    Smoking disease is an obstructive disease.< It obstructs what is breathed

out. With emphysema, the lung tissue acts like an overexpanded balloon. It does not

c.onstrict back to its natural form. Hence exhalation is obstructed.

       27.    Asbestos disease is generally a restrictive disease. It restricts what is

breathed in. The scarring in the lung lining and the lung air sacs and structure restricts

the lungs' ability to expand on inhalation.

       28.    Generally the differences bet\veen obstructive disease due to slTIokingand

restrictive disease due to asbestos can be sorted out on pulmonary function tests. This is

some\vhat complicated by the fact that asbestos disease often causes ainvay obstruction,


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or obstructive disease, i\. significant obstructive component is often found in the Libby

cohort. See Fishman, p.884; Frazer and Pare, p.2445-46.

       Fishman~ 10,568, states:


       The hallmark of the obstructive pattern is a reduction in the FEVIIFVC
       percentage ... Typically, all three lung volumes -residual volun1e,
       functional residual capacity~ and total lung capacity are increased.

Nannal for FEVllFVC is 70 or higher. For hyperinflation in obstructive disease,. TLC or

RV ll1Ust be over 120. Fishlnan~ p.569.

5.     Trcmoliteasbestos is highly toxic.

       29.    Anlphibole asbe:stos in general and treillolite asbestos in particular are far

n10re carcinogenic and fibrogenic (productive of asbestosis) than is chrysotite asbestos.

Greenberg (1997), Occupationat Industrial and Environmental Toxicology~ p.480 states:

              Several studies have also sho\vn that \:yorker cohorts exposed
              to higher concentrations of amphibole fibers have higher lung
              cancer rates than those exposed to similar concentrations of
              chrysotile asbestos. . '.. Th is pattern of increased toxicity of
              amphiboles also holds true for all the other asbestos~related
              lung diseases (asbestosis, pleural disease,and nlcsothelionla).

       30.    Frase.r and Pare (l999)~ suprap.1075, states Hexposure: to amphibole fibers .

. . is associated 'with a significantly greater risk of carcinolua cOlupared to chrysotile

exposure."

       31.    Case (1991), 't'Health Effects ofTremolite,1l Annals of NY AcadenlY of

Sciences, 491, p.494, states regarding an animal study:

              Significantly, the tremolite fibers vvere anlongst the IHost
              carcinogenic. tested, \vith actual incidence of75% and
              "percent tUD10r probability" of lOooAJ,


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       32.    .American Thoracic Society (1990), "Health Effects of Tremolite,U Am Rev

Resp Dis 142:1453; p.l456, states:

              Asbestiform varieties. of tremolite are highly carcinogenic.

      33.     TremoHte asbestos is roughly ten times as carcinogenic as chrysotile

asbestos, See tv1cDonald (1997) HChrysotile, Trenl0lite and Carcinogenicity" Annals of

Oc~upationalHygiene,41 :699; see also, Antman (1993) "Naturall-:Iistory and


Epidemiology of Malignant Mesothelioma:' Chest 1993, p.373S, C'Amphiboles are about

lOx as carcinogenic aschrysotile. ")

      34.     Tremolite asbestos is roughly five to ten times as fibrogenic as chrysotile

asbestos. See McDonald (1999) "Chrysotile, Tremolite and Fibrogenicity," Annals of

Occupational Hygiene, 43:439. Compare Sluis..Cremer (1990) IIEvidence for an

Amphibole Asbestos Threshold Exposure for Asbestosis,tl Annals of Occupational

Hygiene 34:443 with Ontario Royal Commission on Matters of Health and Safety Arising

from the Use of Asbestos in Ontario, (1984) Ontario Ministry of the Attorney General,

and Doll and Peto (1985), UAsbestos:Effects on Health of Exposure to Asbestos,1l

London: Her 1\1ajesty's Stationery Office. The follo\ving summarizes the above studies'

findings re the minimum number of fiber years of exposure (Le. dose) for asbestosis:

      SIuis Cremer (1990)            min 2 fiber years (amphibole)
      Doll & Peto (1985)             lnin 25 fiber years (chrysotile)
      Ontario (1984)                 min 25 fiber years (chrysotile)
      Huang (1990)                   min 22 fiber years (chrysotile)

       35.   The results of the Libby asbestos screening include the following, for

pleural abnormalities, two of three B readers concurring:


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              All participants over 18 (n=6668)                   18%
              Ever worked for W.R. Grace (n=365)                  51%
              Lived '\lith W.R. Grace workers (0=1376)            26%
              Vermiculite insulation. in homes (n=2819)           210/0

Peipins, et at (2003) llEnvironmental Health Perspectives,U III :14,pp.1753-59. These

results clearly indicate that Libby tremolite asbestos is of high toxicity.

       36.    Amphibole asbestos is more than Nlice as likely to produce asbestosis and

asbestos pleura] disease which is more progressive than is chrysotile asbestos. Compare

Jones (1989) nprogression-of ~A.sbestos Effects,H British Journal of Industrial Medicine,

Gregor (1979) HRadiographic Progression of Asbestosis: Preliminary Report," Annals of

the NY Academy of Sciences, and Becklake (1979) rtRadiologicalChanges After

Withdrawal From Asbestos Exposure,H British Journal of Industrial Ivledicine, on

chrysotile asbestos,lllith Sluis... Cremer (1989) llProgression of Irregular Opacities in

Asbestos Miners,u British Journal of Industrial Medicine, Cookson (1986) liThe Natural

History ofAsbestosis in Fornler Crocidolite Workers of the \ViUenoffi. Gorge;,ll American

Review of Respiratory Disease, Ehrlich (1992) I1Long Term Radiological Effects of Third

Term Exposure to Amosite Asbestos Among Factory Workers~11 British Journal of

Industrial Niedicine, and McDonald (1999) llChrySQtile, Tremolite and Fibrogenicityu

Annals Occupational Hygiene, on amphibole asbestos.

       37.     In most patients with asbestosis (including asbestos pleural disease) from

exposure to amphibole asbestos, the asbestosis is progressive. In the words of one

author, Hit appears that once a dose of asbestos sufficient to initiate the disease has been



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retained, it is inexorably progressive.1t Sluis-Cremer (I 989) "Progression ofIrregular

                                   l
Opacities in Asbestos Miners/ British Journal of Industrial Medicine, 46:846.

      , 38.        Cookson (1986) liThe Natural History of Asbestosis in Former Crocidolite

Workers of Wittenoom George, II American Journal of Respiratory Disease 133:994-998,

presents Fig. t a chartshowing that34 years after first exposure approximately 97% of

workers progressed to mild disease, 77% to moderate disease, and 65% to severe disease.

Crocidolite, like tremolite asbestos is an amphibole. Based on my experience, I believe

the numbers for the Libby ,:yorkers "vouldbe similar, perhaps \vith a longer lag time.

       39.         The paper I have published (see ~ 8 ab9ve) demonstrates that Libby

tremolite< asbestos is highly toxic, and causes highly progressive lung disease.

       40.         There generally appears to be a distinct pattern for Libby tremolite asbestos

disease.

              1.      The disease appears to be predominately pleural, for the large portion of
                      the time that people have the disease. In my recently published
                      \Vhitehouse (2004) study, 55% of the patients followed had no
                      interstitial disease and 45% had only minimal interstitial disease. By
                      contrast, chrysotile asbestos disease is mainly interstitial disease. In
                      Libby tremoHte asbestos dise:ase interstitial disease becomes
                      radiographically visible rather late in the process, and frequently is
                      only a minor factor.

              2.      Frequently,\\le see subpleural interstitial fibrosis on CT scans.

              3.      The pleural disease is highly progressive leading to restrictive defect
                      and shortness of breath. In June 2002 at the University ofMontana
                      Conference on Asbestos Disease, I. presented four cases of radiographic
                      progression and death by pure pleural disease. There was no evidence
                      of interstitial disease in these four patients. There are many more
                      patients who demonstrate this pattern. The mechanism for death by
                      pleura] disease is loss ofpleural space resulting in episodes ofhypoxia.


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                 Due to the highly progressive nature of Libby tremolite asbestos
                 disease, once diagnosed "'lith pleural disease, with multiple pleural
                 plaques or diffuse pleural thickening and a loss of lung function,. a
                 patient has a high probability of death. In contrast, a patient diagnosed
                 with chrysotile asbestos disease has a much lovvcr likelihood Qfdeath.

          4.     Very often there is an obstructive cOll1ponent associated '\lith Libby
                 trenlolite asbestos disease. Obstructive defect has generally been
                 associated\¥ith asbestos pleural disease in the literature. See Frazer and
                 Pare, p.2445-46. See also Fishtuan, p.884.. In the t,ihhycohort it
                 appears to be marc pronounced.

          5.     Pleural pain is often associated \Nith Libby trenlolite disease. This is
                 often 111isunderstood as cardiac chest pain. See Lockey (1984)~
                 HPulmonary Changes after Exposure to Ve011iculite Contruninated \-'lith
                 Fibrous Trell10lite," .A.1uerican Review' ofRespiratory Disease, (1984)
                 129:952-958.

          6.      DLCO (diffusion capacity) is a particularly important indicator ofthe
                  severity of restrictive disease in the Libby tremolite asbestos disease
                  patients. In the Libby cohort, DLCO ShO\V5 progressive decline along
                  with FVC and TLC. In some individual cases there is significant
                  asbest.os disease on the chest x-ray and only the DLeO is reduccd~not
                  the F\tC or TLC.. SOUle patients with severe shortness of breath are
                  severe only in the DLeO defect. In Iny recently published study,
                  Whitehouse (2004), 76°/~ of the 123 patients had progressive loss of
                  lung tllnction. Losses were about the same for FVC, TLC and DLCO at
                  2-3% per year. DLCO (diffusion capacity) defect is probably associated
                  with subpleural interstitial fibrosis. Whitehouse (2004) explains:

                             Pleural changes alone are unlikely to cause a decrease in
                             DLCO. DLeO de.creases are likely to be associated with
                             interstitial disease not apparent clinicaUy on either plain chest
                             radiograph orHRCT.

       Another a111phibole study, Cookson (1983) IIPleural Thickening and Gas Transfer

in Asbestosis/ Thorax 1983; 38:657..661, notes "The ratio of transfer factor to effective

alveolar volun1e correlated directly \vith the degree of pleural thickening as alveolar

volume feU \vith increasing severity of pleural disease. Tl



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       Aspects of the above pattern find support in Lockey (1984), p.956; and in animal

studies., Vorwald (1951), nExperimental Studies of Asbestosis,t' p.32 and Schepers

(1955), "An Experimental Study ofthe Effects of Talc Dust on Animal Tissue,H p.322.

Other investigators as well have found significant restrictive disease due to pleural

thickening. See Rom (1992), "Accelerated Loss of Lung Function and Alveolitis ina

Longitudinal Study ofNon-Smoking Individuals \vith Occupational Exposure to

Asbestos," American Journal ofIndustrial Medicine, p.843. See also Frazer and Pare,

p.2446.

6.     Latency period.

       41.    There is a latency period between exposure and the first appearance of

asbestos disease on chest x-ray or CT. During the latency period, microscopic asbestos

fibers are working at a microscopic level, until they become detectible on chest x-ray or

CT. A18 (2000) uses a minimum latency period of 15 years. With tremolite asbestos,

the range appears to be about 5-50 years, \vith an average latency period ofabout 30-40

years from first exposure to diagnosis.

7.     Conrseof the disease.

       42.    When asbestos disease due to Libby tremolite exposure is first diagnosable,

there usually are no symptoms, only positive findings on chest x-ray or CT. The disease

Iuay take decades to progress to a point of severity. Severe disease may include shortness

of breath, chest pain, rales, clubbing of the fingernails, hypoxia, cor pulmonale, pleural

effusions~ and oxygen dependency.     See ATS (2004). At the end stage~ the patient is

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bedridden, oxygen dependent, and generally the hypoxia will lead to organ malfunction

and death.

8.     Workers dead from asbestos disease.

       43.    In 2000, I performed an evaluation of death certificates and some medical

records, and identified 100 workers from the W.R. Grace mine and mill who had died of

asbestos disease. Of the 100, 49 died ofasbestos lung cancer, 11 died of mesothelioma

and 40 died of a.sbestosis (including asbestos pleural disease). \\lith chrysotile asbestos

disease, about 500/0 of patients with asbestosis develop lung cancer. Frazer and Pare,

p.1075. Due to the higher toxicity oftremoIite asbestos, the 60% rate of death by

asbestos lung cancer and mesothelioma is not surprising.

9.     Impairment generally.

       44.    For Montana cases, I use the AfviA Guides to the Evalua.tion of Penn anent
               th
Impairment (5 Ed.). I am familiar with it as to lung and heart disease, and recognize it

as authoritative. The MfA Guides, p.8S, states:

       The purpose ofrespiratory impainnent assessment is (1) to determine if a
       permanent respiratory impairment exists, (2) quantify its severity, (3) assess
       its impact on the ability to perform activities of daily living, and, if
       possible, (4) identify the cause of the abnormality and (5) recommend
       measures to prevent furtherimpainnent and insure proper function.
       (Numbers added).

Evaluation ofpulmonary 'function tests is the best objective tool in assessing

severity ofdisease. The synlptoms suffered in severe disease may include shortness of

breath, fatigue, chest pain and cor pulmonale (right sided heart failure).




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       45.     AMA Guides, p,89, presents Table 5..1 Hlmpainnent Classification of

Dyspnea{shortness of breath}.          tl




    Severity                                          Definition and Question                                                         I
                                                                                                                                      I
                   Do you have to ·walkmore slow'ly on the level than people of your
     Mild
                     age because of breathlessness?
                   Do you have to stop for br-ea-t-=-h-·V\i--:.th~e-n-w-·.-a~lk-='in-g-.·-a-t -y-ou-r-···-ow-.-rn-p-a-c-e-o-n~----4
   Moderate
                       the level?
                   Do you ever have to stop for breath after \valking a.bout 100 yards
    Severe
                       or for a few minutes on the level?
                   Are youtoo breathless to leave the house, or breathless on dressing
  Very severe
                        or undressing?

       46.     It is also useful to inquire about shortness of breath upon climbing one

flight of stairs. Shortness of breath is a key producer oflhnitations on physical activities.

Often we do an oxygen saturation test by placing an oximeter on the patient's finger and

have the p.atientwalk a measured distance or climb a flight of stairs. Nonnaloxygen

saturation at the altitude of 2,000 feet is 93 to 94~4, P02 greater than 65, based upon

Julius Comroe, Physics of Respiration, p.161. "Desaturation"meansan oxygen

saturation rate of under 90%. Medicare pays for oxygen at 880/0. oxygen saturation and

below'. Desaturation is consistent \¥ith severe asbestos disease.

       47.      AMAGuidcs, p.89, 5.2 states:

       The significance of respiratory symptoms is better understood when
       integrated \vith findings from more obje.ctivemeans,such as physical exam,
       radiography, lung function and lab studies.

1\11 the above assist in evaluating impairment. Clinical judgment is important in




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doing impairment ratings. AMA Guides, p.ll, states that clinical judgment,
                                                              II




combining both the HartH and IlscienceH ofluedicine; constitutes the esseue-e of

ll1edical practice.'1

        48.     For 11upainnent ratings~ the AMA Guides generally rely on criteria

presented at page 107.; Table 5-12. The Table attempts to apply to many different

respiratory disorders, and does not provide a good fit for the restrictive defect found in

asbestos disease. As stated above~ there are three key puhnonary function test measures

fnr restrictive disease: forced vital c,apacity~ total lung capacity and diffusion capacity.

Table 5-12 omits total lung capacity . Total lung capacity can be the Illost important

n1easure in restrictive disease. The Aluerican Thoracic Society, flLung Function Testing:

Selection ofReference Values and Interpretive Strategies, Am Rev Resp Dis 1991;
                                                              H




144: 1202-1218, states:

        A restrictive ventilatory defect is characterized physiologically by a
        reduction in total lung capacity .. , if there is a contradiction behveen vital
        capacity and tota.llung capacity in defining restriction, the classification
        should be based on total lung capacity.

lnterestingly~ although the Guides~ Table 5-12, omit total lung capacity frau1 the


1Jllpairnlent criteria, Table 5-13 includes lung vo]unles in Respiratory ImpairUlent

Evaluation Sumnwry, tor restrictive disorders.

        49.     Lung function test results vary \vith the individual. Total lung capacity

(TLC) nlay be in the severe range, \vhereas forced vital capacity (F\lC) and diffusion

capacity (I)LGO) lllay not, yet the patient may have severe impairment of function. In

such cases, the Guides, p.l 07, caB for the use of clinical judgn1ent:


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        It is recognized that pullnonary irnpairm.ent can occur that does not
        significantly inlpact pulnlonary function and exercise test results but that
        does inlpact the ability to perform activities of daily living; such as with
        bran chiectasis,

        In these liulited cases, the. physician may assign an hnpairment rating based
        on the extent and severity ofpuhnonary dysfunction and the inability to
        perfornl activities of daily living (see Table 1-2).

        50.    We further note that the Guides, Table 5-12, also permit the use of FEVI,

as a sole rneasure of impairnlent in an asbestos disease evaluation. This is inappropriate,

since FEVl is nota Hleasure of restrictive disease.

        5 L.   F or forced vital capacity; the Guides do not require use of a

        brochodiolator. They appear to use the pre-brochodioJator result r concur with

doctors Paul Loehnen and Dana Headapohl of 1'viissoula, Montana, on this point.

        52.    In addition, Guides, Table 5-12 requires that PVC be in the 40s or DLCO

be in the 30s, before the individual is considered impaired greater than 50~'O. In my

experience with patients with asbestos disease from Libby trelTIolite asbestos exposure,

many are dead before they reach this point
    ~                     v1--
        DATED this f)'"     day of June., 2005.



                                     Dr. Alan C. Whitehouse

        SUBS.t~·RIBED AND SWORN to before me this JS-day of June, 2005.
                                      ~ .•.....
                                              PU~C ~ ofMontana
                                                        <'.'

        (SEilL)                      Notary
                                     Residing at: Libby, Montana
                                                                  r-
                                     My Con1mission Expires: -cf!:>.3      I
                                                                               1..m ~



General AffidavitbfDr.. Alane. Whitehouse         18                                    6/13/05
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                        CURRICULlTh1 VITAE
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                        Ithaca, New Yark
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                        University of Cincinnati
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                       MD 1963

AWARDS                  Borden Undergraduate Research Prize-1963
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INTER1'ISHIP &
RESIDENCY -            Duke University Medical Center
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                       Denver, Colorado 1967 - 1969

                                                                                 EXHIBIT

                                                                                   /
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Curriculum vitae
Alan C.. Whitebouse rod
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1\1ILITARY:               United States Air Force
                          6571 st Aeromedical Research Laboratory
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BOARDS:                   Americfu'1 Board of Internall\lledicine, 1970
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ORGANIZATIONS &           Alpha Olnega Alpha
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                          Fel10w ofthe American College of Chest Physicians
                          1vlember of Spokane County tvledical Societ~y
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APPOINTl\:1ENTS:          Medical Director Respiratory Therapy Department
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                          Spokane County Health Department- 1978- 2002

                          Board of Directors, Spokane Community College
                             FOW1dation 1984-1988
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                            ColJegeFoundation 1988-1990
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Alan ,C. Whitehouse, l\tl.D.
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AmJ Ind Med 46:219-225, 2004
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INVITED PRESENTATIONS ON ASBESTOS

1/2/00 Be1lingham~ ViA       AmericancoHege of Occupational and Environmental
                                    Medicine

3/00      Cincinnati, Ohio   CDC meeting on tremolite asbestos disease

5/1 0100 \Vashington, DC     NIOSH/CDC I'v1eeting on tremolite disease

10/00     Kalispell, MT      Grand Grounds at Kalispell Regional Hospital

2001      Washington, DC     US Senate hearing Senator Patty fvlurray re asbestos disease

11/15l01 Butte, MT           ASSE Lecture re Libby Asbestos

6/24/02    Missoula, NiT     Conference on Asbestos Diseases

10/4/04 Wenatchee, 'VA       \VA State Public Health Group

11/19/04 Tacoma, \VA         ATSDR Meeting
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                                                                      AMERICAN JOURNAL OF INDUSTRIAL MEDICINE 46:219-225 (2004)




     Asbestos-Related Pleural Disease Due to
  Tremolite Associated With Progressive Loss of
lung Function: Serial Observations in 123 Miners,
Family Members, and Residents of Libby, Montana

                                                           Alan C. Whitehouse, MD, FCc:pl,2~

                                                                                     i
                     Background The community of Libby. Montana has recently been thefocus ofnational
                     attention sl!condary to widespreadamphibote contamination associated with venniculile
                     mining andprocessing.
                     Methods Patients wh.o had occupational and non-occupational exposure to amphibole
                     asbestos in Libby, l*vfontana were evaluatedjor progressive loss ofpulmonary function.
                     Results Of the .123 patients evaluated, 94 demonstrated average age~corrected
                     accelerated loss per year ofvital capacity at 3.2%, total lung capacity (TLC) 2.3%, and
                     DLCO 3.3%. All patients all had predominantl)' pleural changes with minimal to no
                     interstitial disease.
                     Conclusions The study demonstrates a progrl!ssive loss ofpulmonary!l.£nctiotl in patients
                     exposed to tremolite asbeslOs. Am. 1. Ind. Med. 46:219-225, 2004. © 2004 WUey·Liss. inc.

                     KEY WORDS: tremolite; asbestos pulmonary function; Libby; vermiculite;environ~
                                                                           j'

                     mental; exposure; mining; dust


INTRODUCTION                                                                    iated with tremoUte exposure from the vermiculite mining
                                                                                and processing activit.)' in Libby, The amphibole of the Libby
     In November 1999, it was reported that the commun.i ty                     mine has been characterized by mineralogists asa tremolite,.-
of Libby, Montana was experiencing an epidemic of                               actinolite-nchterite-winchitetranshion fiber and \\-'iH hence-
pulmonary disease associated with occupational and envir-                       forth be referred to astremolite [US Geological Survey,
onmental contaminationofasbestiform amphibole materials                         BnHetin 2193, 20021.
within the community. Investigations revealed that the as-                           The vermiculite bed seven miles nonheasr of Libby \vas
bestos contamination was associated with a vermkulite                           discovered in 1916 and mined initially for asbestos by the
mining and processing operation. Tremolite is an amphibole                      Zonolite Corporation and then subsequently for venniculite.
which has very little commercial value but is a contaminant                     It was mined by W.R. Grace & Co. from 1963 to 1990 and
of the vermiculite ore source in Libby {McDonald et aI.,                        \vas for a long period of time the world's largest producer of
198641J, This report will reference the high incidence of                       vermiculite.
asbestos related pleural ch.angesand th.eir progression assoc-                      Vennkulite is a hydrated, laminar, aluminum-non~
                                                                                magnesium micacious silicate, which when heated expands
                                                                                to between 10 and 20 times its original proportions and is
  1<IookandWhilehouse P'$., Spokane. Washington                                 excellent as an insulator, soil conditioner, and fertilizer
  zC{lnter IOfAsb~Slos·Related Diseases, Ubb:l, Montana
  ·Correspondence to: Alan C.W'hkehausa,104 W. fifth, SpllKal1e.WA 9920t        additive [Moatamed et at, 1986],
Fmait acWl@sLsnacom                                                                 In the process of mining and processing this materiaL
                                                                                W.R. Grace Company had multiple sites in proximity to
  Accepted 13 M~y2.004
   DOll0J002IajilTt2C053. Published online in WileylnlerSciem:e                 Libby inclUding an expanding and shipping facility. The ore
{www.inlersdence.wiley.com)                                                     body contained 21-26% tremolite and was initially Pfl)~

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cessedon the mountain. The concentrated unexpanded ore.          The studies prior to 1998 were perfonned on a Sensormedics
which contained over2-6% tremolite [Amandus et at. 1987]         modet6200 and sUbsequently on a Medgraphics model 1085.
was then loaded in rai1carsand shipped throughout the natkm      All studies were done before and after bronchodilator
to over 200 regional processing or expanding sites. With the     utilizing AlbuteroL The same technician was used through-
application of heat, the ore expands to an accordion like        out the entire period. Lung volumes and DLCO were mea-
configuration. The expanded venniculite had up to 1-3%           sured after bronchodilator,
tremolite [Amandus ct aI., 1987].                                      Normal values of pulmonary function results used
     Both expanded and unexpanded forms of vermiculite           spirometry as described by Knudson etaL [1983J. lung
from the mine were m~de freely available to the community.       volumes established by the Intermountain Thoracic Society
Many of the homes in the community were insulated with           (Kanne-ret at, 19841, and DLeo (non-adjusted values) by
vermiculite. Vermiculite was placed on the ball fields~ school   1'vUl1er et al. [19831. AU studies "-lere reviewed to be certain
track, and children played in pUes of verrrJculite, which were   that height; which was measured to the nearest halfinch; and
near the mining and processing facilities. The vermiculite       age at test date, were correct, and if differences in height were
was also used as insulation for plywood dryers in the local      present they were adjusted to match across study dates.
lumber mills and could be found in the rail yards where ore      American ThQracic Society (ATS) pulmonary function
cars were loaded for shipping.                                   testing guidelines were used throughout (American Thoracic
     Studies of occupational exposure and disease among          SocietY, 1995]. In total, 30 patients were removed from the
former vermiculite mine work.ers found significantly increas-    study for the following reasons: chronic obstructive pulmon-
ed rates of asbestosis and lung cancer [Amanduset at, 1987].     ary disease with eleyated residual volumes (14), previous
A mortality study of the Libby area by the Agency for Toxic      thoracic surgery (1). unacceptable pulmonary function tests
Substances and Disease Registry (ATSDR) found that deaths        because of patient unreliability and inability to meet ATS
due to asbestosis were among the highest in the country at40-    acceptability criteria (9), andlor the presence of a significant
60 times the expected national rate [DHHSIATSDR,2000].           non-asbestos related condition such as sarcoidosis or
     Medical screening in the year 2000 of approximately         congestive heart failure (9). Several patients had multiple
6,200 residents of the Libby area who lived there prior to       disqualifying diagnoses. Thefirsl and last ~et of pulmonary
1990 found over 14% of an partidpanrs had radiographic           function tests were compared for all patients tested (l53).
changes consistent with asbestos related abnormalities.                Since the patient values wcre an age corrected against
These findings represent a significant public hazard in view     the normative predicted values, changes in the percentage of
of the long term health impact known to be associated with       predicted over time reftected changes ofpulrnonary function
amphibole exposure. Additional medical screening in 200]         beyond that accounted for by aging. Differences between the
added more patients, now estimated at over l,{XlO plus the       first and last pulmonary function were tabulated and changes
491 patients in this clinical practice who are not part of       per year were calculated. Changes were recorded in per-
the 1,000 and who have been foHowed for up to 14 years.          centage change per year because of the wide variation in ages
These 491 patients demonstrate isolated pleural plaques to       and the usual way of presenting this data in a cHnical practice
diffuse pleural Of interstitial diseaseinc1udlng 40 known        setting.
deaths from asbestos- reInted diseases. They were examined             Repeated measures of anaJysisofcovariance was used to
and followed by a tw~ physician practice specializing in         statistically test changes in pUlmonary function over time
pulmonary disease. The patients were either referred by          with time modeled linearly. To account for individual dif-
intemists and family practitioners or were self referred.        ferences in the period between assessments, thetime between
These patients have not been previously reported. Initially,     the first and last assessments was entered inca the statistical
they were mostly employees of W.R. Grace as wen as some          analysis as a covariant
family memhers of employees. More recently, non-occupa-                TheinitiClI postero-anterior chest X-ray was graded for
tional exposed residents of the community have been              extent of pleural changes by the principle investigator and
identified with asbestos·related health abnonnalities. Be-       also by a. board cf.;rtified radiologist (Dr. Teel). The extent of
cause of extensive longitudinal medical data in this clinical    pleural changes were graded as follows. The percentage of
practice setting, a study was undertaken to determine if there   the lateral chest waH involved with pleural changes was
was·acceternted loss of pulmonary function in this group of      measured and the average of both sides of the chest
pUlients,                                                        calculated. AU patients were weighed at each visit llndbody
                                                                 mass index caJculmed.
MATERIALS AND METHODS
                                                                 RESULTS
    Pulmonary function studies including spirometry with
bronchodilator, plethysmographic lung volumes, and single             Of [be 491 sUbjects,·220 were employees of the vermi-
breu[h carbon monoxide diffusion (DLeO) were conducted.          culite facilities, 12 I '.""ere family members, and ISO were
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                                                           TremoHte Asbestos Causes Loss of Lung Function                 221


environmental exposures. Two or more sets of pulmonary           123 (55%) had no evidence on chest X~ray or HRCTof
functions were available on 153 patients. These subjects are     interstitial changes. The remaining patients (56) had minimal
representative of the Libby area population and the practice     radiographic evidence of irregularinterslitial changes
group of 491 patients. All had lived in Libby the majority of    involving the bases at profusion category 011 or 1/0. Of
their life prior to 1990.                                        123 films reviewed, 4 subject films were felt Io be nonnal or
     The majority ofthe 123 patients were ex-smokers with        equivocal. Of these, aU subsequently developed overtpleural
8 of 123 (7%) being current smokers. Also, 27 (21 %) never       changes within a few years and three of four had pleural
smoked. In total, 86 (70%) were former employees of W.R.         changes consistent with asbestos exposure on HRCT.
Grace, 27 (22%) were family members of employees, and                 ~The parameters that were felt to be most valuable for
10 of 123 (8%) were characterized as Libby environmental         analysis were forced vital capacity (FVC), (taking the best
exposures only. In total, 99 were males (80%), 24 females        available and valid number from each set), total lung capacity
(20%), and the average age was 66 years at first pulmonary       (TLC), and the single breath diffusion capacity (DLeO). In
function study.                                                  the group of ~23 patients (including those with improved
     Over the course of the study group observation, average     PVC). the average yearly loss was 2.2 % for PVC, 2.3% for
BMI increased less than 1 kg/m2 andthere was no statistical      TLC, and 3.0% for DLeO as calculated over an average of
correlation between increasing BrvU.and loss of lung func-       35 months (Fig. 1). Using FVC as the primary measure of
tion. Bronchial asthma was also evaluated as a confounding       \vQfsening lung function. 94 of the 123 (76%) had an
variable. Many subjects used a variety of bronchodilators        accelerated loss in this parameter. Analyzing the 94 of
prescribed by their personal physician although none carried     ]23 who had· progressive 105so£ FVC, the loss per year for
a diagnosis of bronchial asthma and· there was. nQevidence of    F'lC was 3.2%. TLC2.3%, DLeO 3.3% (Fig. 2). In total,
significant changes in FEV 1 fonowing bronchodilators.           79 of 123 patients with greater than 1% loss ofFVC per year
     The majority had pleural changes only, consisting of        the average yearly loss was 3.6% for FVC per year, 2.5% for
either pleural plaques or diffuse pleural thickening. Because    TLC.and 35% for DLCO (Fig. 3). Theloss rate in thi~ group
only about half the patients had high resolution computed        could not be explained by increases in weightextem of
tomography (HReI) scans, it was not possible to differ~          disease. initially or subsequently or other concomitantiHness.
entiate this further with any certainty. due to the variations   For the 67 patients with pleura! changes alone and with no
between the plain PA chest film andthe fIRCT. Atota! of67 of     interstitial changes, the average yearly loss was 2.2% for


                      10000%1
                       95.0% + - - - - - - - - - - - - - , - , , , , · , · - - - - - - - - - 4

                       90.0%




                        75.0%

                       70.0%
                                           FVC                       TLC
                 a BEFORE                 90.7%                     88.8%                    88,0%

                ~~~~~R_. -I---_-8_:_.:_:'--+---~2-.0~-0~-~--+--r-·~~~=7-3-~-.-:'=:=' ==-.....Jj
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              100.00/0                                                                      -'---~'--~---l

                   95.0°/0 +----------~-----------!'
                                                                                                                       t
                                                                                                                       i
                   90.00/0 + - - - + - - - - -...............- - - - - - - - - - - ;                                   1:




                   80.00/0



                   70.00/0

           esBEFORE          i           89.0%                           87.90/0                          85.8%
                             I

           .AfTER !                      78.4%                           80.3°A,                          74.8%
           OlOSSIYR                       3.2%                            2.3°/0                           3.3%
                                  FIGURE 2. Lossofpulmonary!uncti0l194112.3 paliel1tswilhwofsefVC.




                    100.0%.

                      95.00/0




                      80.0%

                      75.0%

                      70.0%

           ~8EFORE                            89.0%                         87.80/0                         86.9%           I
          i--[IlI~.A-F~T-E--R~·.~~--16.30/o                                 78.90/0                         74.5%      J
          l .• %LOSSIYR3.6%
          I_O
           ~~_~_~~~~                                           .---"-        2.5%
                                                                                _

                     FIGURE 3. LllSS o!pulmonarylunction 791123 patients with greater than 1%lOSS rateperyearo1 FVC.
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                                                                    Trernolite Asbestos Causes lass of Lung Function             223




                      95.0%


                       85.0%
                       80.00/0
                      75.00/0
                       70.0%
                                               FVC                               TlO                             OLeo
                §I.SEFORE                    95.00/0                           92.40/0
                IJAFTER                      89.6%                             86.8 0/0                          85.2°/0
                o LOSSIYR                                                                                        2.9%
                                    FlGURE 4. lossofpulmcmary function 67f123 patients, pleural disease{In!)..


FVC, 2.3% for TLC, and 2.9% for DLeO (Fig. 4). These              well documented. Jones et at [1989] demonstrated declines
results are very similar to thoseo! the entire 123 patients       in FVC and FEVl in men who had progressive pleural
(cQtnpareFigs. 1-4).                                              thickening. Of this group. 31 % demonstrated progression of
     All values as noted above for decline of pulmonary parenchymal small opacities in putients with pleural thicken-
function were statistically significant at P :s; .01. There did ing and smoking was not a significant determinant of pleural
not appear to be any difference between the patients with progression. Tl'1e amphibole crocidoHte was presentln one of
pleural changes who had minor interstitialchanges versus no . the two plants studied and there was a higher rate of pro-
interstitial changes. It is also noted that lome entire group the gression with cmddolite present Miller and Miller [1983J
decline in the diffusion capacity was more rapid than the demonstrated that patients with longstandingdinically
decline in either the FVC or TLC.                                 inconsequential plaques remain at risk for diffuse pleural
     Extent of pleural changes as measured as described on thickening and associated impairment of pulmonary func-
the chest X-ray was evaluated in rel'ltion to the loss oflung tion, which was the case in three patients with pleural
function. There was no statistical correlation between the effusions. FurthemlOre. in this group. [here was no evidence
extent of pleural changes measured on the chest X~ray and of progression of small opacities. Decreases in vital capadty
the loss of pulmonary function. The only clearly discernible have been described by Lilis et a1. [1991] and Schwartzer aL
event teading to accelerated loss of pulmonary function in [1994]. Ohlson eta1.[1985]described4 yeardecHnes inFVC
[his entire group was benign asbsestos related effusions and FEV 1 in a group of asbestos cement workers; The
(three patients). These were treated vigorously with tube average 4-year decrement of FVC in exposed subjects was
drainage and pleurodysis and the rate afloss equated. to the 1.9% greater than the reference (control) subjects. Rom
76% who lost function (2.2-3%).                                   [1992] studied 77 asbestos insulators and found that losses of
                                                                  FVC averaged 92 cc per year. FEV I 66 cc per year, and TLC
DISCUSSION                                                        14 cepe! year. Kouns et a1. [1991] found decreased
                                                                  pulmonary function associated with pleural plaques and
     The progressive loss of pulmonary function in 76% of more significantly with diffuse pleural thickening. Schwartz
the 123 patients with pleural changes followed in this group et at. [1990J demonstratedloss of FEV] and PVC associated
of patients with Libby tremolite exposure is excessive with both plaques and diffuse pl.eural thickening and they
compared to other published reports. Progression of asbestos concluded that "pleural fibrosis" among asbestos exposed
disease in patients with exposure to chrysotileasbestos is patients is an imlependeflt predictor of spirometric patterns
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consistent with restnctive lung function. Brodkinet aL            this entire period that they lived in Libby, whether they were
[1996] further correlates loss of pulmonary function aSSQ-        mine workers, family members of workers, or community
ciated with increasing respiratory symptoms. Lockey et al.        members living near the venniculite processing facilities.
[1984] described charlges in weight as a confounding                   This study demonstrates tbat the number of patients
variable measuring pulmonary function in the workplace.           progressing is much higber than has previously been reported
There was no evidence of significant weight. changes in this      in studies with either chrysotHe or amphibole asbestos
group [McKayet at, 1999].                                         exposure. Lincoln County, Montana, (whereUbby is the
     There are fewer articles on exposure to amphiboles.          county seat) has the highest rnortali ty rate from asbesIOsis in
Shepherd et aT. [1997] showed progression of pleural and          the nation [DHHS/ATSDR CERCUS No MT00090883840,
parenchymalabnonnaJities associated with amosite. Sluiz-          2000].
Cremer and Hnizdo, 1989] studied cmcidoUte workers in                  It is apparent from these data that the majority of the
South Africa, and was able to demonstrate that once a dose of     1,$00 persons who have radiologic changes of asbestos
amphibole asbestos sufficient to initiate disease had been        exposure are at increased risk for progressive loss of lung
retained it was a naturally progressive process. Cookson et al.   function from pleural changes alone or from potential future
[19861 studyingcrocidolite workers demonstrated that              development of interstitial fibrosis. Assuming a latency
asbestosis was actively progressing even after more than          period of between 20 and 30 years to significant dIsease, it is
three decades. Erlich et at [1992] demonstrated in amosite        not unreasonable to expect that the people of Libby, Mont.ana
exposed workers that there \vusprogression of pleura!             will have to be monitored over the next 30-40 years, because
abnormalities 20 years after exposure, They found exposure        of the risk for loss of pulmonary function and other known
ofas little as 1month wassufficient to produce radiologic signs   diseases historically associated with asbestos exposure.
of parenchymal. and pleuralfihrosis and progression was
detecmble greater than 20 yeMS after the end of exposure.         ACKNOWLEDGMENTS
McDonald et at (1986h), studying workers exp<)sed to Libby
tremolite from the Grace mine in Libby. Montana, has                   I thank Gordon Teel MD, Inlnnd Imaging, Spokane, WA-
previously demonstrated extensive pleural plaques and pleural     r also thank Robert Scott PhD, Spokane Heart Institute,
thickening on chest radiographs. Previously, Lockey et at         Statistics.
[1984], was first to describe an association between benign
pleural effusions as well as pleural plaques on exposure to
Libby tremolite that had been processed at an expansion plant     REFERENCES
in Ohio to be used as a conditioner for fertilizer.
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CONCLUSIONS                                                       actinolite: Pan 1 and II. Am J rl1d Med t I; 1-26.
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     This study demonstrates that pleural changes related to      Respir cnt Care Med 152: 1107-1136.
exposure to Libby tremolite are associated with progressive       Brodkin CA, Barnhart S, Checkoway H, Bulmes J. Omenn as,
loss of pulmonary function ina group of patients exposed to       Rosenstock L 1996. Longitudinal pauern of reponed respirawfy
tremol1te from approximately 1950 to 1975. Progressive lass       symptoms and acc1crated venlilatory loss in asbestos-exposed workers.
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ofhmg function is continuing 40 years after last exposure in
76% of mis group who are representative of the population of      Cookson W. De Klerk N, Musk AW. Clancy n, Armstrong B. Hobbs M.
                                                                  1986. The nutural history of asbestosis in former crocidolire workers of
Libby. Montana. The studies quoted above document both            Wittenoon Gorge. Am Rev Resp Dis l33:994-998.
interstitial disease and pleural disease, both radiographically
                                                                  DHHS/ATSDR. 2000. Year 2000 medical testing of individuals
and functionally, but none document the rapid progression of      pmemiallyexposed loasbestiformmineralsassociuteu with v~rmiculit¢
loss of pulmonar'j function in such a large group of patients     in Libhy. Monrann: A reporno the communily~ August 23 2000.
with predominantly pleural disease. McDonald et aL [1999}         (DHHSlATSDR) LIBBY ASBESTOS SITE; ATSDR CERCUS No,
speculated on tremoHte's increased ftbrogenicity, and it          MTC009083840 {December, 2(00).
would appear that·tremolite-actinoHte-rlchterite-winchlte         Erlich K LllisR,Chan E, Nicholson WJ. Selikoff U. 1992. Long-term
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are unlikely t.o cause 3. decrease in DLeO. DLeO decreases        H. 1989. P!'i)gresskln of asbeMQSeffecl;5·: A pruspecti\'e longitudinal
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are likely to be associated with interstitial disease not
apparentdinically on either plain chest radiograph or BReI.       K.mner RE. Moms AH. Crapo RH. Gardner RM edilors. 1984. Clinical
                                                                  pulmon:uy function testing. A mnrlual of uniform laboratory procedure~
     Exposure histories for this group are complex, because       for the intermountain arens. 2nd edit. Salt Lake City. Utah: Inter-
for the most part there was continuous exposure throughout        mountain Thoracic Society,
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